                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                        )   Case 23-70029 JAD
                                                              )
         SARA KNUPP,                                          )   Chapter 7
                                                              )
                           Debtors.                           )
------------------------------------------------------------- )
SARA KNUPP,                                                   )
                                                              )
                           Movant,                            )
                                                              )
         v.                                                   )
                                                              )
ERIC BONONI, Chapter 7 Trustee,                               )
UNITED STATES TRUSTEE,                                        )
PRA RECEIVABLES MANAGEMENT LLC,                               )
CAPITAL ONE, CITI CARDS, DISCOVER                             )
FINANCIAL SERVICES LLC, JC PENNEY/                            )
SYNCHRONY BANK, LESCO FEDERAL                                 )
CREDIT UNION, PAYPAL, HOME DEPOT                              )
CREDIT SERVICES, M&T BANK, PHEPLE                             )
FCU,                                                          )
                           Respondents.                       )

 MOTION FOR EXTENSION OF TIME TO COMPLETE BANKRUPTCY FILING
         Debtor Sara Knupp, through her undersigned counsel, moves this Court to
extend the time to file the schedules in this case until February 24, 2023. Counsel
uploaded the schedules A through J in this case; however, when uploading the rest of
the documents, counsel realized that certain errors on the other documents existed.
Rather than upload the erroneous documents and later amend them, counsel believes it
to be better to meet with the debtor and correct the other documents prior to filing.
         WHEREFORE, Debtor respectfully requests that this Court grant an extension
until February 24, 2023.
Date of Service: February 12, 2023

                                                              /s/ J. Allen Roth, Esq.______________
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                                                              COUNSEL FOR DEBTOR
